Case 1:25-cv-01161-TJK   Document 2-23   Filed 04/16/25   Page 1 of 4




  EXHIBIT 21
      Case 1:25-cv-01161-TJK           Document 2-23         Filed 04/16/25      Page 2 of 4




                     DECLARATION OF MARY M. KINCAID


1, Mary M. Kincaid, hereby declare:


   1. I am employed as an Assistant Federal Public Defender at Federal Defender Services of
      Eastern Tennessee. I was appointed to represent Ricardo Sanchez, Jr. on March 29, 2021.
      He was indigent at the time of my appointment and remains indigent.

   2. On May 14, 2009^ Mr. Sanchez was convicted of in a number of counts involving a
      conspiracy with the intent to distribute cocaine (21 U.S.C. §§ 841(a)(l), 846); caijacking
      resulting in death (18 U.S.C. § 2119); and using or carrying a firearm in relation to a
      crime of violence or drug trafficking crime, or possessing a firearm in furtherance of a
      crime of violence or drug trafficking crime, and in the course of the same causing death
      defined as murder (18 U.S.C. § 924(c)(l), (j)). The jmy sentenced him to death for two of
      the carjacking counts, and the Judge imposed life sentences consecutively to the death
      sentence.


   3. On December 23, 2024, President Biden granted Mr. Sanchez clemency and commuted
      his death sentence to life imprisonment without the possibility of parole.

   4. On December 31, 2004, I received an email from a colleague regarding the classification
      and redesignation of our clients on federal death row after the clemency grant. In a
      document attached to the email, Chris Synsvoll was listed as a contact at the BOP to
      provide information for reclassification on behalf of our clients.


   5. I emailed Chris Synsvoll and requested a meeting with him. On January 13, 2025, I met
      with Mr. Synsvoil via Zoom regarding the proposed redesignation of my client, Ricardo
      Sanchez, Jr.


  6. I explained to Mr. Synsvoll that our primary concerns were that a designation had
      accommodations appropriate for Mr. Sanchez's diagnosis of intellectual disability, as well
      as a geographic location near his family in West Palm Beach, Florida.

   7. The reason for our concern about geographic location is two-fold: one, because we
      are currently litigating his petition for habeas corpus in the Southern District of
      Florida, so it would lighten the burden on the U.S. Marshals to have Mr. Sanchez
      located nearby; and two, Mr. Sanchez is very close to his family, who all reside in
      West Palm Beach, Florida. Visiting Mr. Sanchez in Ten'e Haute, Indiana has
      presented significant financial barriers for his family.

  8. Mr. Synsvoll agreed that placement near family can be very helpful to the BOP's
      interests and assured me that the BOP policy was to designate prisoners as close to
      home as practicable.


  9. Pursuant to 18. U.S.C. § 3621 (b), the BOP should "place the prisoner in a facility as
   Case 1:25-cv-01161-TJK           Document 2-23         Filed 04/16/25       Page 3 of 4




    close as practicable to the prisoner's primary residence, and to the extent
    practicable, in a facility within 500 driving miles of that residence." Mr. Synsvoll seemed
    aware of that provision and indicated that the BOP would endeavor to place Mr. Sanchez
    within 500 miles of his home in West Palm Beach. Specifically, we discussed USP-
    Coleman (High) and FCI-Coieman (Medium) in Sumterville, Florida.

10. Mr. Synsvol! was very interested In the intellectual disability diagnosis and inquired if
    Mr. Sanchez is designated as such by the BOP. Although the BOP has not given that
    diagnosis, I discussed with Mr. Synsvoll the various mental health practitioners
    and medical doctors who have opined that Mr. Sanchez is intellectually disabled.

11. Mr. Synsvoll proposed a few different ideas for Mr. Sanchez's designation,
   considering the information I gave regarding his intellectual disability.

12. First, Mr. Synsvoll proposed the "Skills Program" at Coleman Medium, as well as the
   "Skills Program" opening soon at USPAllenwood. He explained that Skills Programs
   cater to inmates with intellectual disabilities. He said that if Mr. Sanchez completed the
   Skills program successfully at a location that was not Coleman Medium, he could
   potentially then be moved to a Medium-Security facility that was geographically
   closer to West Palm Beach, Florida.


13. Secondly, Mr. Synsvoll proposed a residential treatment program called the
    Challenge Program," which he said assisted prisoners with certain disabilities and
   mental health issues to adjust to the prison setting. I do not recall the location(s) of
   that program, but it was my understanding that the intent would still be to place Mr.
   Sanchez as close to West Palm Beach as possible.


14. Mr. Synsvoll appeared concerned about Mr. Sanchez's intellectual disability and
   seemed to sincerely desire to find a program that fit Mr. Sanchez's needs. Overall, Mr.
   Synsvoll seemed amenable to finding the most fitting designation for Mr.
   Sanchez, especially given his significant mental health needs, rather than a one-size-fits-
   all determination.


15. During our conversation, I told Mr. Synsvoll that I did not think Mr. Sanchez was a
   candidate forADX, given his non-violent histoiy. But because I had heard rumors of the
   possibility of placement at ADX, I asked how likely Mr. SynsvoU thought a placement at
   ADX was for Mr. Sanchez. He replied that he did not think it was likely.

16.1 spoke briefly with Mr. Synsvoll regarding Mr. Sanchez s disciplinary history, pointing
   out the lack of violent incidents. Mr. Synsvoll indicated that "good time" in the
   Special Confinement Unit ("SCU") would count in the prisoners' favor in regard to
   custody classification.


17. 1 told Mr. Synsvoll that I would follow up with information regarding Mr. Sanchez's
   intellectual disability, as well as an expert report on Mr. Sanchez's disciplinary
       Case 1:25-cv-01161-TJK            Document 2-23        Filed 04/16/25       Page 4 of 4




        history. The expert, Jack Donson, who was a long-time BOP counselor, opined that Mr.
        Sanchez's records indicated that he was a generally compliant inmate who would not
        present problems for staffer a security threat.


    18.1 left the meeting feeling very positive that the BOP intended to honor the First Step
       Act's geographic requirement, and that it would make individualized decisions
        regarding designations. I had the impression that Mr. Synsvoll intended to
        recommend programs that could help Mr. Sanchez to best navigate this transition,
        given his particular challenges, including his intellectual disability, and lack of violent
        history during incarceration.


    19. On January 14, 2025, I sent Mr. Synsvoll a letter requesting redesignation to one of
       the options we spoke about, and further documented the reasons we believed Mr.
        Sanchez did not need to be placed at ADX or similar maximum security facility. I also
        sent an excerpt from our clemency petition which summarized Mr. Sanchez's
       intellectual disability diagnosis. Finally, I sent him an opinion by a BOP expert
       explaining that Mr. Sanchez's disciplinary record was non-serious, non-violent, and
       did not present the need for maximum security.


    20. On January 20, 2025, President Trump issued the Executive Order entitled,
       "Restoring the Death Penalty and Protecting public Safety."

    21. Shortly after that, we learned that Mr. Sanchez, along with the other prisoners who
       had been granted clemency, received a referral to ADX.


    22. On January 28, 2025, I attended a Zoom meeting for attorneys of clients who were
       granted clemency, regarding BOP redesignation of those clients. Mr. Synsvoll spoke to
       the group on the call. He communicated that the ADX notices that were issued right after
       the Executive Order were given to our clients in error, and that the BOP was still planning
       to make individualized determinations as to our clients. Mr. Synsvoll expressed that the
       BOP did not intend to redesignate all of the men given clemency to ADX, and that the
       majority of them would not be recommended to go to ADX.


   23. However, in early February, we were notified that Mr. Sanchez had received another
       notice of referral for placement atADX.


       Pursuant to 28 U.S.C. § 1746,1 declare under penalty of perjury under the laws of the
United States that the foregoing is true to the best of my knowledge and recollection.



Dated: ^-^-'^26
